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                                             September 10, 2022

Via ECF
Honorable Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


    Re:     Request to Adjourn Trial Sine Die in Light of Settlement in Principle
              HONG et al. v LIN'S GARDEN RESTAURANT INC d/b/a
                        Lin's Asian Cuisine et al., 20-cv-02633

Dear Judge Broderick:

        This office represents Plaintiff in the above-referenced matter. Plaintiff writes
jointly with Defendants to request that the trial currently set on Tuesday, September 13,
2022 be adjourned sine die in light of the settlement in principle just reached.

       The parties thank the Court’s kind consideration on this matter.



                                                     Respectfully Submitted,

                                                     TROY LAW PLLC
                                                     Attorneys for Plaintiff
                                                     /s/ John Troy
                                                     John Troy, Esq.




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